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                                  4                                  UNITED STATES DISTRICT COURT

                                  5                              NORTHERN DISTRICT OF CALIFORNIA

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                                  7      WHATSAPP INC., et al.,
                                                                                          Case No. 19-cv-07123-PJH
                                  8                    Plaintiffs,

                                  9              v.                                       ORDER RE: MOTIONS TO FILE
                                                                                          UNDER SEAL AND EX PARTE
                                  10     NSO GROUP TECHNOLOGIES                           MOTION FOR PROTECTIVE ORDER
                                         LIMITED, et al.,
                                  11                                                      Re: Dkt. Nos. 47-12, 67
                                                       Defendants.
                                  12
Northern District of California
 United States District Court




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                                  14          In its order dated May 6, 2020, the court required plaintiff to re-file its motion to

                                  15   disqualify and supporting declaration with the additional redactions proposed by the U.S.

                                  16   Department of Justice (“DOJ”). Dkt. 67 at 4. The court now understands that plaintiff’s

                                  17   public filings with the DOJ’s proposed redactions meet the court’s requirement.

                                  18   Accordingly, plaintiffs need not re-file its motion and supporting declarations and may

                                  19   proceed with serving defendants’ counsel.

                                  20          The court is also in receipt of plaintiff’s ex parte motion for protective order. Dkt.

                                  21   47-12. Defendants and their counsel, King & Spalding, have not opposed this motion.

                                  22   Plaintiff seeks a protective order to prevent unauthorized disclosure of information that is

                                  23   under seal in proceedings before another federal district court. Id. at 2. As plaintiff

                                  24   states, the litigation before the other federal district court was and remains sealed. Id.

                                  25   Plaintiff further represents that the sealing order in the other litigation “prohibits

                                  26   WhatsApp and its agents, as well as King & Spalding, from disclosing any information

                                  27   related to that litigation to anyone other than the parties or their counsel.” Id. Thus, King

                                  28   & Spalding is already prohibited from disclosing any information related to the other
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                                  1    federal litigation, which is the same information sealed in this matter. For that reason, the

                                  2    court defers ruling on plaintiff’s motion for protective order until it issues an order on

                                  3    plaintiff’s motion to disqualify.

                                  4           IT IS SO ORDERED.

                                  5    Dated: May 8, 2020

                                  6                                                  /s/ Phyllis J. Hamilton
                                                                                     PHYLLIS J. HAMILTON
                                  7                                                  United States District Judge
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Northern District of California
 United States District Court




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